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                    EXHIBIT 10
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                                                                                                      EXHIBIT 10

                                                                          Travis Pittman <jtpittman@hphattorneys.com>



RE: VoIP-Pal.com Inc. v. AT&T, Inc. et al, Case No. 1-24-cv-03051-RDM
1 message

Culley, Daniel P. <dculley@cgsh.com>                                                           Mon, Mar 3, 2025 at 2:39 PM
To: Travis Pittman <jtpittman@hphattorneys.com>


 Travis,



 Cleary is authorized to accept service of the complaints in VoIP-Pal.com Inc. v. AT&T, Inc., No. 1-24-cv-3051-RDM
 (D.D.C.) and Inza v. AT&T, Inc., No. 1:24-cv-3054-RCM (D.D.C.) on behalf of Mike Sievert and Mark Nelson, and they
 should not be served personally.



 Thank you,



 Dan




 —
 Daniel P. Culley | Lawyer, District of Columbia

 Cleary Gottlieb Steen & Hamilton LLP
 Assistant: alancellotti@cgsh.com
 2112 Pennsylvania Avenue, NW
 Washington, DC 20037
 T: +1 202 974 1593 | M: +1 216 544 8635
 dculley@cgsh.com | clearygottlieb.com




 From: Culley, Daniel P.
 Sent: Thursday, February 13, 2025 1:23 PM
 To: Travis Pittman <jtpittman@hphattorneys.com>
 Subject: RE: VoIP-Pal.com Inc. v. AT&T, Inc. et al, Case No. 1-24-cv-03051-RDM



 Counsel,



 There is no merit to your claims and, based on the proposed settlement offer, we do not believe settlement discussions
 will be productive.



 In addition, please do not send T-Mobile information about your discussions with other defendants.



 Best,
                                                                                                                 Case 1:24-cv-03051-RDM                                                                                     Document 25-10   Filed 05/06/25   Page 3 of 3


—
Daniel P. Culley | Lawyer, District of Columbia

Cleary Gottlieb Steen & Hamilton LLP
Assistant: alancellotti@cgsh.com
2112 Pennsylvania Avenue, NW
Washington, DC 20037
T: +1 202 974 1593 | M: +1 216 544 8635
dculley@cgsh.com | clearygottlieb.com




From: Travis Pittman <jtpittman@hphattorneys.com>
Sent: Thursday, February 13, 2025 10:43 AM
To: Culley, Daniel P. <dculley@cgsh.com>; Falconer, Russ <rfalconer@gibsondunn.com>; blui@mofo.com
Subject: VoIP-Pal.com Inc. v. AT&T, Inc. et al, Case No. 1-24-cv-03051-RDM



Dea Counsel   lease see the a tached wh ch epubl shes VoI - al s anua y 24 2025 let e emov ng the RE 408 designa ion and nstead des gna ing the et e as being o he eco d   hank you o you e o s n th s case   av s i tman




Dear Counsel,

Please see the attached, which republishes VoIP-Pal's January 24, 2025 letter removing the FRE 408 designation and
instead designating the letter as being for the record.

Thank you for your efforts in this case.


Travis Pittman

--

Travis Pittman

Holmes Pittman & Haraguchi, LLP

jtpittman@hphattorneys.com

(202) 329-3558



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